                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


NIKKI BOLLINGER GRAE, Individually
                                 )
and on Behalf of All Others Similarly
                                 )
Situated,                        )
                                 )
Plaintiff,                       )
                                 )
v.                               )                             Case No. 3:16-cv-2267
                                 )                             Judge Aleta A. Trauger
CORRECTIONS CORPORATION OF       )
AMERICA, DAMON T. HININGER,      )
DAVID M. GARFINKLE, TODD J.      )
MULLENGER, and HARLEY G. LAPPIN, )
                                 )
Defendants.                      )

                                       MEMORANDUM

       Amalgamated Bank, as Trustee for the LongView Collective Investment Fund,

(“Amalgamated”) has filed a Motion to Certify Class (Docket No. 91), to which CoreCivic, Inc.

(“CoreCivic”) has filed a Response (Docket No. 98), and Amalgamated has filed a Reply

(Docket No. 121), to which CoreCivic has filed a Surreply (Docket No. 134). For the reasons set

out herein, Amalgamated’s motion will be denied. CoreCivic’s pending Motion for Evidentiary

Hearing (Docket No. 136) will be denied as moot.

                                      I. BACKGROUND

       CoreCivic is a publicly traded real estate investment trust that owns and operates private

prisons and detention facilities. Amalgamated is the lead plaintiff in a putative class action

against CoreCivic and four CoreCivic executives for securities fraud, based on the defendants’

history of making allegedly false and/or misleading public statements about the quality of

CoreCivic’s services and its history of performance relative to the expectations of its federal

clients, particularly the Federal Bureau of Prisons (“BOP”).



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       The lengthy history of alleged deficiencies at CoreCivic’s BOP facilities, and

CoreCivic’s notice of those deficiencies, is detailed in the court’s December 18, 2017

Memorandum in support of its Order denying CoreCivic’s Motion to Dismiss. (Docket No. 76 at

2–13.) Among the more prominent and frequently repeated deficiencies were CoreCivic’s

failures to provide necessary medical care and testing to inmates, despite its facilities’ receiving

numerous notices of deficiencies from the BOP informing the company of the BOP’s

expectations and concerns. (See id. at 6, 9, 11–12.) CoreCivic’s facilities were also allegedly

poorly and inadequately staffed, leading to problems with inmate safety and security. (See id. at

3–5, 8–9, 11.) In one instance, CoreCivic’s allegedly inadequate staffing resulted in a failure to

anticipate or appropriately respond to a violent riot at one of its BOP facilities, during which a

CoreCivic correctional officer was killed. (Id. at 3–5.)

       On August 11, 2016, the U.S. Department of Justice’s Office of Inspector General

(“OIG”) published a report entitled “Review of the Federal Bureau of Prisons’ Monitoring of

Contract Prisons” (“OIG Report”). (Docket No. 99-1.) The OIG Report found that, in almost all

key areas, contract prisons had higher rates of undesirable incidents than BOP-run facilities. (Id.

at 14.) The OIG Review noted that, in “recent years, disturbances in several federal contract

prisons resulted in extensive property damage, bodily injury, and the death of a Correctional

Officer”—a reference to the aforementioned riot at a CoreCivic facility. (Id. at 2.) The OIG

Review observed that CoreCivic facilities experienced substantially higher rates, relative to BOP

institutions, of a number of unwelcome occurrences, such as inmate fights, inmate-on-inmate

assaults, and suicide attempts/self-mutilations. (Id. 60–67.) The value of CoreCivic’s stock does

not appear to have immediately suffered from the release of the OIG Report in a statistically

significant way. (See Docket No. 99-3 at 33.) Although the price of CoreCivic’s stock did

fluctuate at the time, CoreCivic has produced an economic analysis explaining that fluctuation in
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terms of ordinary, overall market conditions and isolating any reaction to the OIG report to a

small change of 0.12%, below the threshold of statistical significance. (Id. at 33–34.)

       A week later, however, on August 18, 2016, Deputy Attorney General Sally Q. Yates

issued a memorandum to the BOP entitled “Reducing our Use of Private Prisons” (“Yates

Memorandum”). (Docket No. 99-2.) The Yates Memorandum stated that “[p]rivate prisons

served an important role during a difficult period, but time has shown that they compare poorly

to our own [BOP] facilities.” (Id. at 2.) Private facilities, Yates wrote, “simply do not provide the

same level of correctional services, programs, and resources; they do not save substantially on

costs; and as noted in [the OIG Report], they do not maintain the same level of safety and

security.” (Id.) Yates concluded that the BOP should “begin[] the process of reducing—and

ultimately ending—our use of privately operated prisons.” (Id. at 3.) Yates specifically directed

that, “as each [private prison] contract reaches the end of its term, the Bureau should either

decline to renew that contract or substantially reduce its scope in a manner consistent with law

and the overall decline of the Bureau’s inmate population.” (Id. at 3.) In the wake of the Yates

Memorandum, CoreCivic’s stock price dropped precipitously. (See Docket No. 122-2 at 25.)

       The Yates Memorandum was eventually rescinded by a memorandum of Attorney

General Jefferson B. Sessions III on February 21, 2017 (“Sessions Memorandum”). (Docket No.

62-3.) This putative class action, however, seeks to vindicate the shareholders whose shares’

value was lost when the Yate Memorandum was first released. Amalgamated, which has been

appointed lead plaintiff (Docket No. 52), has filed a Motion to Certify Class (Docket No. 91),

seeking certification of a class defined as follows:

       All persons who purchased or otherwise acquired Corrections Corporation of
       America, Inc. (“CCA”) [now “CoreCivic”] securities between February 27, 2012
       and August 17, 2016, inclusive, and who were damaged thereby. Excluded from
       the Class are: (a) CCA, its parents, subsidiaries and any other entity owned or
       controlled by CCA; (b) Damon T. Hininger, Todd J. Mullenger, and Harley G.
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       Lappin; (c) all other executive officers and directors of CCA or any of its parents,
       subsidiaries or other entities owned or controlled by CCA; (d) all immediate
       family members of the foregoing, including grandparents, parents, spouses,
       siblings, children, grandchildren and steprelations of similar degree; and (e) all
       predecessors and successors in interest or assigns of any of the foregoing.

(Docket No. 92 at 1.) CoreCivic opposes the motion. (Docket No. 98.)

                                    II. LEGAL STANDARD

       The principal purpose of class actions is to achieve efficiency and economy of litigation,

both with respect to the parties and the courts. Gen. Tel. Co. v. Falcon, 457 U.S. 147, 159 (1982).

The Supreme Court has observed that, as an exception to the usual rule that litigation is

conducted by and on behalf of individual named parties, “[c]lass relief is ‘peculiarly appropriate’

when the ‘issues involved are common to the class as a whole’ and when they ‘turn on questions

of law applicable in the same manner to each member of the class.’” Id. at 155 (quoting Califano

v. Yamasaki, 442 U.S. 682, 701 (1979)). The Court directs that, before certifying a class, district

courts must conduct a “rigorous analysis” of the prerequisites of Rule 23 of the Federal Rules of

Civil Procedure. Id. at 161. The Sixth Circuit has stated that district courts have broad discretion

in deciding whether to certify a class, but that courts must exercise that discretion within the

framework of Rule 23. Coleman v. Gen. Motors Acceptance Corp., 296 F.3d 443, 446 (6th Cir.

2002); In re Am. Med. Sys., Inc., 75 F.3d 1069, 1079 (6th Cir. 1996).

       Although a court considering class certification should not inquire into the merits of the

underlying claim, a class action may not be certified merely on the basis of its designation as

such in the pleadings. See Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 178 (1974); In re Am.

Med. Sys., 75 F.3d at 1079. In evaluating whether class certification is appropriate, “it may be

necessary for the court to probe behind the pleadings,” as the issues concerning whether it is

appropriate to certify a class are often “enmeshed” within the legal and factual considerations

raised by the litigation. Falcon, 457 U.S. at 160; see also In re Am. Med. Sys., 75 F.3d at 1079;
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Weathers v. Peters Realty Corp., 499 F.2d 1197, 1200 (6th Cir. 1974). Moreover, the party

seeking class certification bears the burden of establishing that the requisites are met. See Alkire

v. Irving, 330 F.3d 802, 820 (6th Cir. 2003); Senter v. Gen. Motors Corp., 532 F.2d 511, 522 (6th

Cir. 1976).

                                             III. ANALYSIS

A. Class Action Requirements

           A class action will be certified only if, after rigorous analysis, the court is satisfied that

the prerequisites of Fed. R. Civ. P. 23(a) have been met and the action falls within one of the

categories under Fed. R. Civ. P. 23(b). Bridging Communities Inc. v. Top Flite Fin. Inc., 843

F.3d 1119, 1124 (6th Cir. 2016). A party seeking to maintain a class action must be prepared to

show that Rule 23(a)’s numerosity, commonality, typicality and adequacy of representation

requirements have been met. Comcast v. Behrend, 569 U.S. 27, 33 (2013). In addition, the party

must satisfy, through evidentiary proof, at least one of Rule 23(b)’s provisions. Id. at 34.

Amalgamated relies on Rule 23(b)(3), which allows for certification of a Rule 23(a)-compliant

class if

           the court finds that the questions of law or fact common to class members
           predominate over any questions affecting only individual members, and that a
           class action is superior to other available methods for fairly and efficiently
           adjudicating the controversy. The matters pertinent to these findings include:

               (A) the class members’ interests in individually controlling the prosecution
                   or defense of separate actions;

               (B) the extent and nature of any litigation concerning the controversy
                   already begun by or against class members;

               (C) the desirability or undesirability of concentrating the litigation of the
                   claims in the particular forum; and

               (D) the likely difficulties in managing a class action.



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Fed. R. Civ. P. 23(b)(3). Although Amalgamated retains the initial burden of demonstrating

compliance with the provisions of Rule 23(a) and Rule 23(b)(3), CoreCivic only specifically

challenges its compliance in one respect: whether “questions of law or fact common to class

members predominate over any questions affecting only individual members,” in particular with

regard to the issue of reliance. The court, accordingly, will first consider CoreCivic’s objection

and then, if necessary, move on to considering whether Amalgamated has carried its initial

burden in all other respects.

B. Rule 23(b)(3)—Reliance

       “Investors can recover damages in a private securities fraud action only if they prove that

they relied on the defendant’s misrepresentation in deciding to buy or sell a company’s stock.”

Halliburton Co. v. Erica P. John Fund, Inc. (“Halliburton II”), 573 U.S. 258, 263 (2014). For

example, in a conventional securities fraud case, an individual might show, via documentary or

testimonial evidence, that he personally relied on a particular misrepresentation in making the

decision to buy or sell at a specific price. See Chelsea Assocs. v. Rapanos, 527 F.2d 1266, 1271

(6th Cir. 1975) (“In the usual fraud case or case brought for misrepresentation in violation of

Rule 10b-5, proof of reliance upon the misstated or false fact is required.”) (citing Schlick v.

Penn-Dixie Cement Corp., 507 F.2d 374, 380 (2nd Cir. 1974), cert. denied, 421 U.S. 976

(1975)).

       Although that approach may have been adequate for traditional, single-plaintiff securities

fraud cases, proving individual reliance in such a manner for each member of a class that might

number in the thousands would be impossibly complex. If reliance can be established

categorically, however, then common issues of reliance can be resolved much more simply. The

Supreme Court has recognized “two . . . circumstances” giving rise to a “rebuttable presumption

of reliance,” without the need for individual information about each plaintiff. Stoneridge Inv.
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Partners, LLC v. Sci.-Atlanta, 552 U.S. 148, 159 (2008). Amalgamated argues that it and its

putative class members are entitled to both presumptions. CoreCivic responds that they are

entitled to neither.

        1. The Basic Presumption

        “[M]odern securities markets, literally involving millions of shares changing hands

daily, differ from the face-to-face transactions contemplated by early fraud cases.” Basic Inc. v.

Levinson, 485 U.S. 224, 243–44 (1988). As the Supreme Court has explained:

        In face-to-face transactions, the inquiry into an investor’s reliance upon
        information is into the subjective pricing of that information by that investor.
        With the presence of a market, the market is interposed between seller and buyer
        and, ideally, transmits information to the investor in the processed form of a
        market price. Thus the market is performing a substantial part of the valuation
        process performed by the investor in a face-to-face transaction. The market is
        acting as the unpaid agent of the investor, informing him that given all the
        information available to it, the value of the stock is worth the market price.

Id. at 244 (quoting In re LTV Secs. Litig., 88 F.R.D. 134, 143 (N.D. Tex. 1980)). If, for example,

an executive of a company makes a false statement affecting the market price of the company’s

stock, and a buyer purchases the stock at that market price, the buyer has, as a practical matter,

relied on the executive’s false statement in deciding what price to pay for his shares—even if the

buyer was personally unaware of the statement. This theory—known as the “fraud-on-the-

market” theory of reliance—acknowledges that a modern investor acting on an open and

efficient securities exchange is relying on the market itself to be his eyes and ears with regard to

publicly available information. Id.

        The Supreme Court has held that, pursuant to the fraud-on-the-market theory, there is a

rebuttable presumption of reliance with regard to material statements made about a company

whose stock is traded on an “efficient market”—in other words, a market that, through plentiful

and relatively unencumbered transaction opportunities, is able to assimilate all material public

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information into a share’s price. Id. at 253; see Halliburton II, 573 U.S. at 270–72 (discussing

efficiency of capital markets). That fraud-on-the-market presumption of reliance is sometimes

referred to as the “Basic presumption,” after Basic Inc. v. Levinson. See In re BancorpSouth,

Inc., No. 17-0508, 2017 WL 4125647, at *1 (6th Cir. Sept. 18, 2017) (“The Basic fraud-on-the-

market presumption is based on the ‘premise that market professionals generally consider most

publicly announced material statements about companies, thereby affecting stock market

prices.’”) (quoting Halliburton II, 573 U.S. at 272)).

       “[T]o invoke the Basic presumption, a plaintiff must prove that: (1) the alleged

misrepresentations were publicly known, (2) they were material, (3) the stock traded in an

efficient market, and (4) the plaintiff traded the stock between when the misrepresentations were

made and when the truth was revealed.” Halliburton II, 573 U.S. at 277–78 (citing Basic, 485

U.S., at 248 n.27). Once a plaintiff makes an initial showing that it is entitled to the Basic

presumption, however, “a defendant may rebut it with ‘evidence that the asserted

misrepresentation (or its correction) did not affect the market price of the defendant’s stock.’”

BancorpSouth, 2017 WL 4125647, at *1 (quoting Halliburton II, 573 U.S. at 279–80). The issue

of whether a misstatement or correction actually affected a stock’s price is referred to as “price

impact.” Id. “In the absence of price impact, Basic’s fraud-on-the-market theory and

presumption of reliance collapse,” because the “fundamental premise” of the fraud-on-the-

market theory—that the alleged fraud was reflected in the price of the security—has been

refuted. Id. at 278 (quoting Erica P. John Fund, Inc. v. Halliburton Co. (“Halliburton I”), 563

U.S. 804, 813 (2011)).

       On its face, the Basic presumption goes to the merits of a claim, not the appropriateness

of class certification. See In re Whirlpool Corp. Front-Loading Washer Prod. Liab. Litig., 722

F.3d 838, 851 (6th Cir. 2013) (“[D]istrict courts . . . consider at the class certification stage only
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those matters relevant to deciding if the prerequisites of Rule 23 are satisfied.”). In practice,

however, the Basic presumption is often relevant to a court’s consideration of whether a putative

class can satisfy Fed. R. Civ. P. 23(b)(3)’s requirement that questions of law or fact common to

class members predominate. The fraud-on-the-market theory greatly simplifies the reliance

inquiry in a securities fraud case by providing a factual and legal basis for reliance that can be

applied easily to all investors. “[W]ithout the benefit of the Basic presumption,” however,

“investors would have to prove reliance on an individual basis, meaning that individual issues

would predominate over common ones.” Halliburton II, 573 U.S. at 265–66.

       A plaintiff seeking to rely on the Basic presumption in support of class certification is not

required to demonstrate that he will satisfy all of its prerequisites on the merits. Specifically, the

Supreme Court has held that a party seeking class certification in a fraud-on-the-market case is

not required to provide proof of materiality of the relevant statements in order to satisfy Rule 23.

See Amgen Inc. v. Conn. Ret. Plans & Tr. Funds, 568 U.S. 455, 467 (2013). The plaintiff must,

however, establish, at least, “that the alleged misrepresentations were publicly known . . . , that

the stock traded in an efficient market, and that the relevant transaction took place ‘between the

time the misrepresentations were made and the time the truth was revealed.’” Halliburton I, 563

U.S. at 811 (quoting Basic, 485 U.S. at 248 n.27). The Supreme Court has also held that, once an

initial showing is made by the plaintiff, a defendant is entitled, at the class certification stage, to

offer price impact evidence in order to rebut the Basic presumption. Halliburton II, 573 U.S. at

283–84.

       Amalgamated has provided a lengthy Report on Market Efficiency by Professor Steven

P. Feinstein, examining various historical events and conditions to establish that CoreCivic’s

stock traded on an efficient market during the relevant time period. (Docket No. 93-3.) In

response, CoreCivic has conceded that its stock traded on an efficient market. (Docket No. 98 at
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5.) CoreCivic also does not dispute that the relevant statements were public and that they

occurred during the relevant time period. Accordingly, Amalgamated is entitled, as an initial

matter, to a rebuttable presumption of reliance under Basic, and the burden of production shifts

to CoreCivic to rebut that presumption. See Fed. R. Evid. 301 (“In a civil case, unless a federal

statute or these rules provide otherwise, the party against whom a presumption is directed has the

burden of producing evidence to rebut the presumption. But this rule does not shift the burden of

persuasion, which remains on the party who had it originally.”).

       Instead, CoreCivic contends that it can defeat the Basic presumption with evidence

showing a lack of price impact from the defendants’ allegedly false or misleading statements. In

particular, CoreCivic has produced its own lengthy Report, by economist Lucy P. Allen,

evaluating the price impact, or lack thereof, of various events, including CoreCivic’s alleged

misrepresentation, the publication of the OIG Report, and the publication of the Yates

Memorandum. (Docket No. 99-3.) With regard to CoreCivic’s alleged misrepresentations, Allen

found no evidence that any of the misrepresentations caused a statistically significant increase in

the value of CoreCivic’s stock. (Id. at 12–14.) This lack of price impact from the individual

misstatements, CoreCivic argues, demonstrates that those statements were not affirmatively

inflating the shares’ market price.

       As CoreCivic concedes, however, sometimes a false statement contributes to an inflated

market price, not by causing an immediate, artificial increase in the stock’s value, but by

perpetuating an incorrect valuation or even mitigating a negative revaluation. For example, if a

company has missed its revenue target by 30%, and its executives falsely claim it missed its

target by 20%, the price of the company’s stock may still go down—but that lower price would

likely still reflect overvaluation due to fraud. Similarly, if a pharmaceutical company announces

that it has discovered a drug that will effectively treat a major disease, then the company’s value
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will likely go up; if the company later comes to realize that its drug does not have the benefits it

had claimed, but its executives continue to assert, falsely, that the drug is efficacious, the price

may not go up again, since news of the drug has already been processed by the market.

Nevertheless, the executives would still have engaged in fraud to preserve the earlier increase in

value.

         That latter example represents what is known as the “price maintenance” theory of price

impact. See Willis v. Big Lots, Inc., 242 F. Supp. 3d 634, 656–57 (S.D. Ohio 2017) (“[T]he price

maintenance theory [is] the theory that a misrepresentation can have a price impact not only by

raising a stock’s price but also by maintaining a stock’s already artificially inflated price . . . .”).

In a price maintenance case, price impact may be established, not via “evidence that a stock’s

price rose in a statistically significant manner after a misrepresentation,” but with evidence that

“it declined in a statistically significant manner after a corrective disclosure.” Id. at 657. If the

corrective disclosure clues the market in to the truth that the defendants had been falsely denying

or concealing, and the value of the stock declines in response, it is evidence that the falsehood

had, indeed, been improperly maintaining the higher price. Id.

         CoreCivic suggests that, insofar as the company and its executives had fostered a false

impression of the quality and value of its services, the OIG Report would have been a corrective

disclosure—and that disclosure resulted in no price impact. According to Allen,

         there was no statistically significant reaction in CoreCivic’s stock price on August
         11, 2016 following the release of the OIG Report. In other words, CoreCivic’s
         stock price reaction on August 11, 2016, after controlling for market and industry
         movements, is within the range of normal expected daily variation in the stock
         price, and thus, cannot be distinguished from zero.

(Docket No. 99-3 at 33.) In contrast, Allen concedes that the Yates Memorandum triggered a

precipitous reevaluation of CoreCivic by the market. Not only did the price of the stock drop, but

analysts began treating CoreCivic’s business as more precarious in their valuations of the
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company. This perception, Allen notes, appears to have largely been dispelled by the results of

the 2016 presidential election and the advent of a new administration perceived to be more

favorable to contract prisons. (Id. at 47–51.)

       Amalgamated argues that the decline in CoreCivic’s value following the Yates

Memorandum proves its case, because it was the Yates Memorandum, not the OIG Report, that

finally revealed the truth sufficiently for the market to respond. As Amalgamated points out,

sometimes a corrective disclosure—or the equivalent thereof—comes in the form of the real-

world realization of the risk that a company’s executives concealed or denied. For example, in

Ohio Public Employees Retirement System v. Federal Home Loan Mortgage Corporation, 830

F.3d 376 (2016), the plaintiff alleged that the defendant had concealed the extent of its risk of

foreseeable losses in the event of a substantial downturn in the housing market, particularly as

related to subprime mortgages. Id. at 381–82. When those risks materialized (and the public

became aware of the company’s losses), the stock price fell—even though there had not yet been

a corrective disclosure by the company admitting to its false statements. Id. at 388. The district

court dismissed the plaintiff’s securities fraud claim on the ground that, because there was no

“corrective revelation,” the plaintiff could not establish loss causation with regard to the

allegedly concealed risk. Ohio Pub. Employees Ret. Sys. v. Fed. Home Loan Mortg. Corp., No.

4:08CV160, 2014 WL 5516374, at *10 (N.D. Ohio Oct. 31, 2014). The Sixth Circuit reversed,

concluding that a plaintiff can rely on materialization of risk in the same manner as it would have

relied on a corrective disclosure. Ohio Pub. Employees Ret. Sys., 830 F.3d at 385.

       The “materialization of risk” theory of demonstrating loss causation flows from the

common sense assumption that concealed risks are sometimes revealed by events, not

admissions. For example, if a company makes a fortune selling what it claims to be unbreakable

widgets, its value will go down if it admits that the widgets are, in fact, breakable—but its value
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will also go down if it keeps silent but the widgets just start breaking and the public finds out

about it. In either hypothetical, the value of the company has decreased because the public has

learned the same truth. In either hypothetical, an unsuspecting shareholder would have been

harmed by the same lie. To claim that only the hypothetical involving an admission represents an

instance of loss causation by fraud would make little sense. The same reasoning applies in the

price impact context. What matters is demonstrating a negative price impact from the public’s

learning the truth, not necessarily how the public learned the truth.

       Of course, when the truth is revealed by a risk’s coming to fruition, rather than merely by

the disclosure of the risk itself, it may be difficult to separate the damage to a company’s value

done by the revelation from the damage done by the event. After all, even when the public is

fully apprised of the possibility of some calamitous event, the value of an affected company

should still be expected to go down if the event actually occurs, because, at that point, the

relevant harm went from being a possibility to a certainty. Accordingly, when an event

constitutes both a harm in and of itself and the revelation of a concealed truth, the value of the

company may suffer from both. As long as some part of the price impact can be attributed to the

revelation, however, it is corroborative of a fraud on the market.

       The determination of whether the Yates Memorandum is an appropriate subject of price

impact analysis is best separated into two questions: first, whether, as a categorical matter, the

Memorandum could serve the purpose of corrective disclosure, assuming the alleged fraud

continued until the Memorandum’s release; and, second, if the intervening publication of the

OIG Report rendered any revelation from the Memorandum superfluous. With regard to the first

question, CoreCivic argues that Amalgamated cannot rely on price impact related to the Yates

Memorandum because the Yates Memorandum did not reveal anything about the subjects of the

defendants’ alleged false statements, namely, the quality and value of CoreCivic’s services.
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CoreCivic argues that the Yates Memorandum instead merely revealed a “political decision” to

move away from relying on private prisons. (Docket No. 98 at 18.) That argument, though,

hinges on the mistaken assumption that the “politics” of the federal government’s private prison

use are somehow separable from issues such as whether CoreCivic’s prisons were safe for

inmates, whether inmates were receiving adequate medical care, whether BOP considered its

money to be well spent, and whether CoreCivic was able to meet the BOP’s basic quality

expectations. Nothing in the record, however, supports this vision of politics as an external force

unrelated to the BOP’s quality concerns. Indeed, the Yates Memorandum’s own account of the

DOJ’s decision placed those concerns front and center.

       In her Report, Allen cites market analysts who characterized the BOP’s proposed shift

away from private prisons as “political,” which CoreCivic suggests is evidence that the decision

embodied by the Yates Memorandum was unrelated to quality or value of services. (Docket No.

99-3 at 47–48.) A decision’s being, in some sense, “political,” however, is not mutually

exclusive with its being related to the quality concerns that Amalgamated has raised. To the

contrary, the record suggests that, insofar as the Yates Memorandum can be said to reflect a

political decision, that political decision was driven by precisely the deficiencies that

Amalgamated has highlighted. When a company chooses, like CoreCivic has, to enter into a line

of business that requires it to rely on government customers, then there is no neatly separating its

client relationships from the underlying politics. Perhaps the Yates Memorandum did reflect a

political decision—the political decision to not keep using such low-quality services.

       CoreCivic, however, is correct that the presence of the OIG Report complicates the issue

of price impact considerably. An event can only serve the role of a corrective disclosure if it

“reveal[s] some [previously]-undisclosed fact with regard to the specific misrepresentations

alleged.” In re Omnicom Grp., Inc. Sec. Litig., 597 F.3d 501, 511 (2d Cir. 2010) (citing In re
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Flag Telecom Holdings, Ltd. Sec. Litig., 574 F.3d 29, 40–41 (2d Cir. 2009)). There is no basis

for treating the materialization of a risk as the equivalent of a corrective disclosure if the

materialization occurred only after the truth had already been revealed. If the market learns the

truth about an underlying risk to a company prior to the risk’s materializing, then materialization

has no concealed truth to reveal. The value of the company’s shares still might go down—but

that reduction in value would be due to the damage done by the materialized risk itself, not the

market’s having been in the dark about the risk’s existence or severity.

        Amalgamated argues that it is improper to consider whether the OIG Report prevented

the Yates Memorandum from serving as a corrective disclosure, because “a ‘truth on the market’

defense cannot be used to rebut the presumption of reliance at the class-certification stage.”

Washtenaw Cty. Employees' Ret. Sys. v. Walgreen Co., No. 15-CV-3187, 2018 WL 1535156, at

*4 (N.D. Ill. Mar. 29, 2018) (citing Makor Issues & Rights, Ltd. v. Tellabs, Inc., 256 F.R.D. 586,

595 (N.D. Ill. 2009); In re Bridgepoint Educ., Inc. Sec. Litig., No. 12-cv-1737 JM (JLB), 2015

WL 224631, at *7 (S.D. Cal. Jan. 15, 2015); In re Virtus Investment Partners, Inc. Sec. Litig.,

No. 15 CV 1249, 2017 WL 2062985, at *5 (S.D.N.Y. May 15, 2017)). CoreCivic’s argument,

though, is not being offered as a substantive defense on the merits. Rather, CoreCivic’s argument

regarding the OIG Report is merely an ancillary component of its price impact analysis, and the

Supreme Court has held, definitively, that a price impact analysis can be used to rebut the Basic

presumption at the Rule 23 stage. Halliburton II, 573 U.S. at 283–84. It is difficult to imagine

how one could perform a price impact analysis in a price maintenance case without considering

the threshold issue of whether the relevant event or disclosure was, in fact, corrective of the

alleged fraud. Because CoreCivic’s argument is a component of an issue that the Supreme Court

has held that it has a right to raise at this juncture, the court’s consideration of the issue is proper.



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       The OIG Report was voluminous and detailed, and, while its tone was measured, it does

not appear to have pulled punches with regard to its discussion of the deficiencies of private

prison contractors such as CoreCivic. (Docket No. 99-1.) In its conclusion, the OIG Report not

only detailed the contractors’ failings, but specifically raised the possibility that the BOP might

take some action in response:

       In a majority of the categories we examined, we found that contract prisons
       incurred more safety and security incidents per capita than comparable BOP
       institutions . . . . Our analysis of data on safety and security indicators found that
       contract prisons had more incidents per capita than BOP institutions in three
       quarters of the categories we examined. While the contract prisons had fewer
       positive inmate drug tests and sexual misconduct allegations than BOP
       institutions, they had more frequent incidents of contraband finds, assaults, uses
       of force, lockdowns, guilty findings on inmate discipline charges, and selected
       categories of grievances. . . . [I]n order to ensure that federal inmates are housed
       in safe and secure facilities, the BOP should evaluate why contract prisons had
       more safety and security incidents in these categories and identify possible
       approaches for corrective action.

(Id. at 44.) The Report discussed specific deficiencies at CoreCivic’s Eden Detention Center,

which was one of the facilities closely examined in the OIG’s review. (Id. at 28–29.) It included

detailed statistics about various undesirable events at CoreCivic facilities, such as inmate-on-

inmate assaults, suicide attempts, grievances, and lockdowns. (Id. at 60–63.) The Report also

made specific reference to private prisons’ issues with inadequate staffing, one of the

deficiencies central to CoreCivic’s alleged quality control issues in this case. (Id. at 33 & n.62,

36, 45, 48). The Report, moreover, “caution[ed] against drawing the conclusion . . . that contract

prisons are necessarily lower cost than BOP institutions on an overall basis.” (Id. at 11.) In short,

an investor who read the Report on the day of its publication, August 11, 2016, would have been

well-apprised of the fact that there was evidence of significant quality issues with the BOP’s

contract prisons, including, specifically, CoreCivic’s. CoreCivic’s stock price, however, did not

go down—with one obvious potential explanation being that investors simply were not surprised

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by the information and did not consider the OIG Report to do anything other than confirm their

prior assumptions about the quality of CoreCivic facilities.

       Professor Feinstein authored a Rebuttal Report in which he attempts to dispute

CoreCivic’s premise that the lack of a stock-price reaction to the OIG Report precludes a price

impact analysis based on the Yates Memorandum. (Docket No. 120-1.) Specifically, Professor

Feinstein cites the existence of Appendix 9 of the OIG’s Report, which included letters in

response from the private prison contractors covered by the Report, including CoreCivic. (Id. at

17–18.) Professor Feinstein suggests that

       [t]he explanation for the non-significant price reaction on 11 August 2016 is not
       that there was no price impact from the disclosures in the OIG Report. The more
       reasonable explanation is that the price impact was offset by the positive
       countervailing impact of the response letters appended to the end of the OIG
       Report.

(Id. at 23.) Professor Feinstein, however, produces no reason to think that a few letters

predictably disputing a powerfully negative Report would have been sufficient to wholly offset

the price impact of the Report’s revelations. Moreover, even if Professor Feinstein’s theory did

explain the lack of an immediate dip in price following the OIG Report, it would not solve the

larger problem—that the OIG Report’s release precluded the Yates Memorandum from serving

as the equivalent of a corrective disclosure. Prior to the release of the Yates Memorandum, the

truth, as alleged by Amalgamated, was this: 1) CoreCivic and other private prison operators had

a history of major quality deficiencies, and the extent of the cost savings they offered was

questionable. 2) There was ample reason for the DOJ to reconsider its relationship with private

prison contractors, but CoreCivic defended its practices and hoped to continue doing business

with the BOP. That is exactly the picture one receives when one reads the OIG Report, including

Appendix 9. There was no concealed truth, then, left for the Yates Memorandum to disclose. All

that the Memorandum revealed was the ensuing policy decision.
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       Finally, Amalgamated argues that, even if it cannot rely on the Yates Memorandum to

demonstrate price impact, it can rely on a 6.4% decline in CoreCivic’s stock on August 4, 2016,

shortly after news came out that BOP was canceling its contract with CoreCivic regarding one

significant facility, the Cibola County Correctional Center in New Mexico. The reasoning behind

using that closure would, in essence, simply be a scaled-down version of relying on the Yates

Memorandum; while ending the Cibola contract did not reveal the full extent of CoreCivic’s

quality deficiencies, it did, Amalgamated argues, amount to a partial realization of the allegedly

concealed risk, and, therefore, can be treated as the equivalent of a corrective disclosure.

Amalgamated, however, has not produced any evidence to suggest that the public would have

understood the Cibola cancellation as revealing or partially revealing the truth about CoreCivic’s

operations. Absent some evidence of revelatory effect, the price downturn in the wake of the

Cibola cancellation seems significantly more likely to represent merely the reaction to

CoreCivic’s loss of a large, important contract, not the reaction to some deeper truth being

revealed.

       In his Rebuttal Report, Professor Feinstein emphasizes that the difficulty of

demonstrating price impact in this case is not necessarily evidence that none occurred.

Undoubtedly, he is correct—“the absence of evidence is not the same as evidence of absence.”

Gass v. Marriott Hotel Servs., Inc., 558 F.3d 419, 436 (6th Cir. 2009) (Boggs, J., dissenting).

Nevertheless, the Supreme Court has left little doubt that the court must consider evidence of a

lack of price impact as a basis for overcoming the Basic presumption at the class certification

stage. Halliburton II, 573 U.S. at 283–84. While CoreCivic’s evidence is not an ironclad

demonstration, beyond a reasonable doubt, that CoreCivic’s allegedly false or misleading

statements and omissions had no price impact, the evidence is enough for CoreCivic to prevail

with regard to whether the court can rely on the Basic presumption to simplify and universalize
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the issue of reliance. Amalgamated, therefore, can only satisfy Rule 23(b)(3) if it identifies some

other ground for bypassing the need to demonstrate reliance on an individual basis.

       2. The Affiliated Ute Presumption

       Amalgamated argues next that, even if it cannot establish that it is entitled to the Basic

presumption, it can rely on a presumption of reliance pursuant to Affiliated Ute Citizens v. United

States, 406 U.S. 128 (1972). Under Affiliated Ute, if the plaintiff’s claim “involv[es] primarily a

failure to disclose,” then “positive proof of reliance is not a prerequisite to recovery. All that is

necessary is that the facts withheld be material in the sense that a reasonable investor might have

considered them important in the making of this decision.” Id. at 153–54 (citations omitted).

Amalgamated argues that its case is primarily about CoreCivic’s failure to disclose the many

deficiencies that led to the erosion of its relationship with the BOP and that, because the case is

primarily about disclosure, Affiliated Ute applies.

       Although Basic and Affiliated Ute present the “two . . . circumstances” giving rise to a

“rebuttable presumption of reliance” in securities fraud cases, Stoneridge, 552 U.S. at 159, the

rationales for the two presumptions differ substantially. The Basic presumption, as the court has

discussed, is based on the application by courts of a particular economic principle—namely, the

efficient market hypothesis—to the factual question of reliance in the context of modern

securities markets. See Halliburton II, 573 U.S. at 270–72. The Affiliated Ute presumption, in

contrast, is not based on some abstract theory of economics, but rather on the practical and

conceptual challenges associated with establishing that a plaintiff relied on an omission. See

Vervaecke v. Chiles, Heider & Co., 578 F.2d 713, 717 (8th Cir. 1978) (“[R]eliance has little

rational role in cases of nondisclosure, largely because of the difficulty of proving reliance on the

negative.”) (citation and internal quotation marks omitted); In re Facebook, Inc., IPO Sec. &

Derivative Litig., 986 F. Supp. 2d 428, 469 (S.D.N.Y. 2013) (“Because the . . . allegations
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involve primarily a failure to disclose that presents a situation where reliance as a practical

matter is impossible to prove, reliance may be presumed under the Affiliated Ute doctrine.”)

(citation and internal quotation marks omitted). After all, what does it mean to “rely” on one’s

lack of knowledge about something?

       Before applying Affiliated Ute, however, a court must make the threshold determination

of whether the plaintiff’s case involves “primarily a failure to disclose” or whether, in the

alternative, the case is primarily about the defendant’s affirmative statements. 406 U.S. at 153.

Unfortunately, the distinction between misleading statements and misleading nondisclosures is

not always crystal clear, because, in the securities fraud context, it is often what one says that

determines what one has an obligation to disclose. Under federal securities law, “[s]ilence,

absent a duty to disclose, is not misleading.” In re Ford Motor Co. Sec. Litig., Class Action, 381

F.3d 563, 569 (6th Cir. 2004) (quoting Basic, 485 U.S. at 239 n.17). That duty to disclose may

come from an affirmative rule requiring a company to divulge certain information at a specific

juncture—such as, for example, the rules requiring inclusion of particular information in SEC-

mandated reports. See Stratte-McClure v. Morgan Stanley, 776 F.3d 94, 101 (2d Cir. 2015)

(discussing 17 C.F.R. § 229.303(a)(3)(ii)). Federal securities law also recognizes, however, that a

party may assume additional disclosure obligations by its statements or actions. In particular,

when a company or executive chooses to make public statements on a topic material to a

securities transaction, that party “assume[s] a duty to speak fully and truthfully on [the]

subject[]” at hand. In re Ford, 381 F.3d at 569 (quoting Helwig v. Vencor, Inc., 251 F.3d 540,

561 (6th Cir. 2001)) (alteration in original). Once that duty arises, a party may commit fraud by

remaining silent regarding a fact that it otherwise would have had no duty to reveal. In such a

case, the misleading statement and the misleading omission are little more than the same lie seen



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from different angles; the statement misled because of what was omitted, and the omission

misled because of what was said.

        There is, therefore, a tension between the test for determining whether a defendant had a

disclosure obligation and the test for whether to apply Affiliated Ute. The disclosure case law

looks at statements and omissions together, as complementary parts of a single truth or

falsehood. After all, “every misrepresentation involves an omission of the true information,” and

a plaintiff may, “[t]hrough word games, . . . style his or her complaint as a material

misrepresentations [case] or [an] omissions case” without any change in the substance. Simpson

v. Specialty Retail Concepts, 823 F. Supp. 353, 356 n.7 (M.D.N.C. 1993) (emphasis added).

Affiliated Ute, however, requires the court to pick one or the other—to decide whether a case is

“primarily” about statements or about omissions—even if a case may, in a sense, be wholly

about both. 1

        The only way out of this seeming conundrum, as far as the court can tell, is to construe

the scope of Affiliated Ute narrowly, or, at least, narrowly enough to avoid creating an exception

that swallows the rule. See Johnston v. HBO Film Mgmt., Inc., 265 F.3d 178, 193 (3d Cir. 2001)

(“This claim should not be transformed into an omission simply because the defendants failed to

disclose that the allegedly misleading fact was untrue. Under an approach of that nature nearly

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  One possible solution to this problem, as some courts have acknowledged, might be to apply the
Affiliated Ute presumption only to the omissions in a case and afford no presumption to affirmative
statements. See Burges v. Bancorpsouth, Inc., No. 3:14-CV-1564, 2017 WL 2772122, at *10 (M.D. Tenn.
June 26, 2017) (Crenshaw, C.J.) (“Where plaintiffs’ claims are based on a combination of omissions and
misstatements, courts have acknowledged the applicability of the Affiliated Ute presumption as to the
element of reliance with regard to alleged omissions.” (citing Dodona I, LLC v. Goldman, Sachs & Co.,
296 F.R.D. 261, 270 (S.D.N.Y. 2014)), leave to appeal denied sub nom. In re BancorpSouth, Inc., No. 17-
0508, 2017 WL 4125647 (6th Cir. Sept. 18, 2017). Such an approach would be of no use here, for two
reasons. First, the statements and omissions in this case are so closely related that it would make little
sense conceptually, and perhaps even less sense practically, to separate them for reliance purposes.
Second, an Affiliated Ute presumption for only a portion of Amalgamated’s case would not solve its Rule
23(b)(3) problem, because it would not resolve the outstanding individual issues related to showing
reliance for each plaintiff with regard to the numerous allegedly false or misleading statements made by
the defendants.
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any misrepresentation could become an omission, which . . . would allow the presumption to

swallow the reliance requirement almost completely.”); Joseph v. Wiles, 223 F.3d 1155, 1163

(10th Cir. 2000) (“Any fraudulent scheme requires some degree of concealment, both of the truth

and of the scheme itself. We cannot allow the mere fact of this concealment to transform the

alleged malfeasance into an omission rather than an affirmative act. To do otherwise would

permit the Affiliated Ute presumption to swallow the reliance requirement almost completely.”),

abrogated on other grounds, Cal. Pub. Employees’ Ret. Sys. v. ANZ Sec., Inc., 137 S. Ct. 2042,

2054 (2017); In re Enron Corp. Sec., 529 F. Supp. 2d 644, 682 (S.D. Tex. 2006) (“Ute . . . does

not require the burden of persuasion to shift in cases where the plaintiffs allege . . . that the

defendant has . . . distorted the truth by making true, but misleading, incomplete statements.”);

Teamsters Local 445 Freight Div. Pension Fund v. Bombardier, Inc., No. 05 CIV. 1898 (SAS),

2006 WL 2161887, at *5 (S.D.N.Y. Aug. 1, 2006) (“Where positive statements are central to the

alleged fraud, thereby eliminating the evidentiary problems inherent in proving reliance on an

omission, the Affiliated Ute presumption does not apply.”); Siemer v. Assocs. First Capital

Corp., No. CV97-281TUCJMRJCC, 2001 WL 35948712, at *22 (D. Ariz. Mar. 30, 2001)

(describing Affiliated Ute as providing a “narrow exception” to the ordinary need to prove

reliance); Kotlisky v. Omaha Investments, Inc., No. 90 C 3525, 1992 WL 237360, at *4 (N.D. Ill.

Sept. 17, 1992) (“Th[e] very narrow rationale [for applying Affiliated Ute] does not extend to

cover situations . . . where representations were actually made but were incomplete in some

material fashion.”).

       A review of Amalgamated’s claims confirms that, while this case is capable of being

characterized in reference to omissions, the core of Amalgamated’s allegations is, fundamentally,

what CoreCivic said, not what it failed to say. Amalgamated’s Complaint is replete with

allegations of specific false or misleading statements. (Docket No. 57 ¶¶ 121, 125, 128, 131, 134,
                                               22

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138, 141.) This case, as pled and as it has been construed by the court and the parties prior to this

juncture, is primarily about the false impression that CoreCivic, through its affirmative

statements, gave to shareholders and potential shareholders about the quality and value of its

services relative to BOP expectations. Admittedly, CoreCivic could have inoculated itself by

disclosing more accurate information about the many deficiencies that the BOP found at

CoreCivic facilities throughout their relationship. Some version of that premise, however, is true

about every affirmative falsehood—every lie can be corrected by the truth. In such cases,

however, it is still the initial misstatement that forms the primary basis for the fraud.

        Considering Amalgamated’s allegations in light of the rationale underlying Affiliated Ute

confirms that this case does not present the kind of situation that Affiliated Ute was intended to

address. Courts have justified Affiliated Ute based on the supposed difficulty of demonstrating

reliance on a defendant’s silence. CoreCivic, though, was not silent on the issues of the quality

and value of its services, and the question of proving reliance on what it did convey is relatively

straightforward. Indeed, the parties’ dueling experts have demonstrated that the question of

reliance, in this case, is fully amenable to empirical investigation.

        The court admits that it has struggled to apply the Supreme Court’s “primarily involving”

test to the complex realities of real-world communication. A listener does not hear statements

with one ear and omissions with the other; statements and omissions, together, form a speaker’s

message, whether it is a truthful or misleading one. Determining what a plaintiff’s allegations

“primarily” involve, therefore, is an inescapably artificial exercise, at least in a case like this one.

Faced with such an uncertain and unsatisfying rubric, the court must simply try to construe the

Affiliated Ute rule’s scope in the manner most consistent with what the Supreme Court

envisioned. A version of Affiliated Ute that reached this case would be so broad that it would

threaten the viability of reliance as an element of securities fraud altogether. So broad an
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exception would not be consistent with the limited purpose of the rule recognized by the

Supreme Court. The court, accordingly, will not allow Amalgamated to rely on Affiliated Ute to

establish that common issues of reliance predominate.

        3. Conclusion

        Because Amalgamated is unable to rely on either the Basic presumption or the Affiliated

Ute presumption, any members of its putative class would have to establish reliance on an

individual basis. As such, common issues of fact or law do not predominate over individual

issues of fact or law, as required by Rule 23(b)(3). Because Amalgamated has not set forth any

other basis for certification of the class under Rule 23(b), it is unnecessary to consider whether it

has satisfied the requirements of Rule 23(a). Class certification would not be permitted, even if

every requirement of Rule 23(a) were met.

        The court stresses that this ruling is not, in any way, based on a determination that

CoreCivic and its executives were forthright in their statements about the quality of their

facilities. Nor should the court’s ruling be read to rule out the possibility that members of the

public, including shareholders, may have been misled by the defendants and harmed as a result.

Rather, CoreCivic has merely shown that, based on the Supreme Court’s current case law

regarding reliance in securities fraud cases, the situation at issue here is one for which reliance

must be shown individually, rather than collectively. Amalgamated, accordingly, has not

demonstrated that it is entitled to proceed on behalf of the other investors, whose cases for

reliance might be different from its own.

                                       IV. CONCLUSION

        For the foregoing reasons, Amalgamated’s Motion to Certify Class (Docket No. 91) will

be denied. CoreCivic’s Motion for Evidentiary Hearing (Docket No. 136) will be denied as

moot.
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      An appropriate order will enter.

      ENTER this 18th day of January 2019.


                                                      ______________________________
                                                      ALETA A. TRAUGER
                                                      United States District Judge




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